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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                               Plaintiff,
                                                           No. 19-cv-2379 (KBJ)
        v.

 DONALD F. MCGAHN II,

                               Defendant.


                       NOTICE OF WITHDRAWAL OF COUNSEL

       I, Josephine Morse, hereby withdraw my appearance as counsel in this case. Plaintiff

will continue to be represented by the other attorneys who have entered appearances in this case.

                                             Respectfully submitted,

                                             /s/ Josephine Morse
                                             Josephine Morse (D.C. Bar No. 1531317)
                                                  Deputy General Counsel

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January 19, 2021
